                           Case 1:15-cr-00008-JGK Document 178 Filed 01/12/21 Page 1 of 6
AO 245B (Rev. 09/ 19)    Judgment in a Criminal Case   (form modified within District on Sept. 30, 2019)
                         Sheet I



                                            UNITED STATES DISTRICT COURT
                                                           Southern District of New York
                                                                                 )
               UNITED STATES OF AMERICA                                          )        JUDGMENT IN A CRIMINAL CASE
                                     V.                                          )
                            NAYEEM MALIK                                         )
                                                                                          Case Number: 1: 15CR0008-002 (JGK)
                        a/k/a "Malik Mayeemul"                                   )
                                                                                 )        USM Number: 71467-054
                                                                                 )
                                                                                 )         DEBORAH COLSON
                                                                                 )        Defendant ·s Attorney
THE DEFENDANT:
ill pleaded guilty to count(s)            ONE OF THE INDICTMENT
D pleaded nolo contendere to count(s)
   which was accepted by the court.
D was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                     Nature of Offense                                                              Offense Ended
21 USC 846;                         Conspiracy to Distribute Ehylone, a Schedule I                                  8/27/2014

21 USC 841(b)(1)(C)                 Controlled Substance



       The defendant is sentenced as provided in pages 2 through                      6          of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
Ill Count(s)      ALL OPEN COUNTS                           Dis         Ill are dismissed on the motion of the United States.
                -------------
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenaant must notify the court and United States attorney of material changes in economic circumstances .

                                                                                                                  12/22/2020
                          Case 1:15-cr-00008-JGK Document 178 Filed 01/12/21 Page 2 of 6
AO 245B (Rev . 09/ 19) Judgment in Criminal Case
                        Sheet 2 - Imprisonment

                                                                                                  Judgment - Page       2   of   6
 DEFENDANT: NAYEEM MALIK a/k/a "Malik Mayeemul"
 CASE NUMBER: 1 :15CR0008-002 (JGK)

                                                            IMPRISONMENT

           The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
 total term of:
  Time served on Count 1.




      D The court makes the following recommendations to the Bureau of Prisons:




      D The defendant is remanded to the custody of the United States Marshal.

      D The defendant shall surrender to the United States Marshal for this district:
           D at       ----------
                                                   D a.m.    D p.m .      on
           D as notified by the United States Marshal.

      D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           D before 2 p.m . on
           D as notified by the United States Marshal.
           D as notified by the Probation or Pretrial Services Office.


                                                                RETURN
 I have executed this judgment as follows :




           Defendant delivered on                                                       to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                                UN ITED STATES MARSHAL


                                                                         By
                                                                                             DEPUTY UN ITED STATES MARSHAL
                        Case 1:15-cr-00008-JGK Document 178 Filed 01/12/21 Page 3 of 6


AO 245B (Rev . 09/19)   Judgment in a Crimina l Case
                        Sheet 3 - Supervised Release
                                                                                                          Judgment- Page _ _ _ of
DEFEN DANT: NAYEEM MALIK a/k/a "Malik Mayeemul"
CASE NUMBER: 1:15CR0008-002 (JGK)
                                                        SUPERVISED RELEASE
Upon release from impri sonment, you wi ll be on superv ised release for a term of:

 3 years on Count 1.

 --The defendant shall not possess a firearm or destructive device, as defined in 18 USC 921 .

 --The defendant will participate in an outpatient treatment program approved by the United States Probation Office , which
 program may include testing to determine whether the defendant has reverted to the use of drugs or alcohol. The
 defendant must contribute to the cost of services rendered based on ability to pay and the availability of third-party payment.
 The Court authorizes the release of available drug treatment evaluations and reports, including the presentence
 investigation report, to the substance abuse treatment provider.

 --The defendant shall submit his person and any property, residence , vehicle , papers, computers , other electronic
 communication, data storage, cloud storage or media, and effects to a search by any United States probation officer and , if
 needed, with the assistance of any law enforcement. The search is to be conducted when there is reasonable suspicion
 concerning violation of a condition of supervision or unlawful conduct by the person being supervised . Failure to submit to a
 search may be grounds for revocation of release . The defendant should warn any other occupants that the premises may
 be subject to searches pursuant to this condition . Any search shall be conducted at a reasonable time and in a reasonable
 manner.

 --The defendant shall pay a fine of $1 ,500 , payable at the rate of $50 per month beginning January 202 1. No interest will
 accrue on the unpaid fine because the defendant lacks the ability to pay interest.




                                                       MANDATORY CONDITIONS
I.    You must not commit another federa l, state or local crime.
2.    You must not unlawfully possess a contro ll ed substance.
3.    You must refrain from any unlawful use ofa control led substance. You must submit to one drug test within 15 days of release from
      imprisonment and at least two periodic drug tests thereafter, as determined by the court.
                D The above drug testing condition is suspended, based on the court's determination that you
                     pose a low risk of future substance abuse. (check if applicable)
4.     D You must make restitution in accordance with I 8 U.S .C. §§ 3663 and 3663A or any other statute authorizing a sentence of
             restitution. (check if applicable)
5.     li".I You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.     D You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S .C. § 20901, et seq.) as
             directed by the probati on officer. the Bureau of Prisons, or any state sex offender registration agency in the location where you
             reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.     D You must participate in an approved program for domestic violence. (check if applicable)

You must comply with the standard conditions that have been adopted by this court as we ll as with any other conditions on the attached
page.
                         Case 1:15-cr-00008-JGK Document 178 Filed 01/12/21 Page 4 of 6
AO 245B (Rev. 09/ 19)   Judgment in a Criminal Case
                        Sheet 3A - Supervised Release
                                                                                             Judgment- Page    - - - ' - - - of - - - ~ - -
DEFENDANT: NAYEEM MALIK a/k/a "Malik Mayeemul"
CASE NUMBER: 1:15CR0008-002 (JGK)

                                        STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition .

I.  You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
    release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
    frame .
2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
    when you must report to the probation officer, and you must report to the probation officer as instructed.
3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
    court or the probation officer.
4. You must answer truthfully the questions asked by your probation officer.
5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
    arrangements (such as the people you live with), you must notify the probation officer at least IO days before the change. If notifying
    the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
    hours of becoming aware of a change or expected change.
6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
    take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
    doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
    you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
    responsibilities), you must notify the probation officer at least IO days before the change. If notifying the probation officer at least I0
    days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of becoming
    aware of a change or expected change.
8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
    convicted ofa felony, you must not knowingly communicate or interact with that person without first getting the permission of the
    probation officer.
9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
    designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
    first getting the permission of the court.
12. You must follow the instructions of the probation officer related to the conditions of supervision .




U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                   Date
                                                                                                               ------------
                           Case 1:15-cr-00008-JGK Document 178 Filed 01/12/21 Page 5 of 6
AO 2458 (Rev . 09/ 19)   Judgment in a Criminal Case
                         Sheet 5 - Criminal Monetary Penalties
                                                                                                                Judgment - Page   -~5~_    of        6
 DEFENDANT: NAYEEM MALIK a/k/a "Malik Mayeemul"
 CASE NUMBER: 1: 15CR0008-002 (JGK)
                                                  CRIMINAL MONETARY PENALTIES
       The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                         Assessment               Restitution                    Fine                    AV AA Assessment*            NT A Assessment**
 TOTALS             $    100.00               $                             $    1,500.00            $                            $



 D The detennination of restitution is deferred until            -----
                                                                                   . An A mended Judgment in a Criminal Case (AO 245C) will be
       entered after such detennination .

 D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

       If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
       the priority order or percentage payment column below. However, pursuant to 18 U.S .C. § 3664(i), all nonfederal victims must be paid
       before the United States is paid .

 Name of Payee                                                     Total Loss***                     Restitution Ordered          Priority or Percentage




 TOTALS                                 $                           0.00                $                       0.00
                                                                                            - - - - - - - - --

 D      Restitution amount ordered pursuant to plea agreement $

 D      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
        fifteenth day after the date of the judgment, pursuant to 18 U.S .C. § 3612(t). All of the payment options on Sheet 6 may be subject
        to penalties for delinquency and default, pursuant to 18 U.S.C . § 36 I 2(g).

 ill    The court detennined that the defendant does not have the ability to pay interest and it is ordered that:

        ill   the interest requirement is waived for the           ill    fine     D restitution .
        D the interest requirement for the            D     fine         D restitution is modified as follows :

 * Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub . L. No. 115-299.
 ** Justice for Victims of Trafficking Act of20 I 5, Pub. L. No. 114-22.
 *** Findings for the total amount oflosses are required under Chapters 109A, 110, 11 OA, and 113A of Title                   18 for offenses committed on
 or after September 13 , 1994, but before April 23 , 1996.
                         Case 1:15-cr-00008-JGK Document 178 Filed 01/12/21 Page 6 of 6

AO 2458 (Rev . 09/ 19)   Judgment in a Criminal Case
                         Sheet 6 - Schedule of Payments

                                                                                                           Judgment - Page ____fi___ of         6
 DEFENDANT: NAYEEM MALIK a/k/a "Malik Mayeemul"
 CASE NUMBER: 1: 15CR0008-002 (JGK)

                                                           SCHEDULE OF PAYMENTS

 Having assessed the defendant' s ability to pay, payment of the total criminal monetary penalties is due as fo llows:

 A     O      Lump sum payment of$                                  due immediately, balance due

              O     not later than                                      , or
              O     in accordance with O C,               O D,      O E,or       O F below; or
 B     D Payment to begin immediately (may be combined with                     DC,      0 D, or     O F below); or

 C     O      Payment in equal        _ _ _ _ _ (e.g., weekly, monthly, quarterly) installments of $ ____ over a period of
                              (e.g., months or years), to commence _ _ _ _ _ (e .g., 30 or 60 days) after the date of this judgment; or

 D     O      Payment in equal                             (e .g. , weekly, monthly , quarterly) installments of $
                                                                                                                   ----
                                                                                                                        over a period of
                              (e .g. . months or years) , to commence _ _ _ _ _ (e .g. . 30 or 60 days) after release from impri sonment to a
              term of supervision; or

 E     O      Payment during the term of supervised release wi ll commence within _ _ _ _ _ (e. g. , 30 or 60 days) after release from
              imprisonment. The court will set the payment plan based on an assessment of the defendant' s abil ity to pay at that time ; or

 F     liZl   Special instructions regarding the payment of criminal monetary penalties:
               --The special assessment shall be due immediately.

              --The fine is payable at the rate of $50 per month, beginning January 2021 . No interest will accrue on the unpaid
              fine because the defendant lacks the ability to pay interest.


 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
 the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons ' Inmate
 Financial Responsibility Program , are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



 0     Joint and Several

       Case Number
       Defendant and Co-Defendant Names                                                    Joint and Several             Corresponding Payee,
        (including defendan/ number)                             Total Amount                   Amount                       if appropriate




 0     The defendant shall pay the cost of prosecution.

 0     The defendant shall pay the fo llowing court cost(s):

 0     The defendant shall forfeit the defendant's interest in the following property to the United States:



 Payments shall be applied in the fo llowi ng order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) AV AA assessment,
 (5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (I 0) costs, including cost of
 prosecution and court costs.
